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CJF10.3.19
USAO# 2019R00677/LNE:

                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                       se



       V.                                                CRIMINAL NO.        in 6— ( 9-0 (4-7                        -
                                               „
 DEVIN FIELDS,                                           (Possession of a Firearm and
                                                         Ammunition by a Prohibited Person,
               Defendant.                                18 U.S.C. § 922(g)(1); Forfeiture, 18
                                                         U.S.C. § 924(d), 28 U.S.C. § 2461(c))




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                                        INDICTMENT                                            o --a
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                                        COUNT ONE                                        e.1) co    .rm
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                     (Felon In Possession of Firearm and Ammunition)                                 .•         ‘
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       The Grand Jury for the District of Maryland charges that:                 rn rrin
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       On or about April 23, 2019, in the District of Maryland, the defendant,

                                       DEVIN FIELDS,

knowing he had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, knowingly possessed a firearm and ammunition, to wit: Ruger SR40C .40

S&W pistol semi-automatic, serial #34355741 loaded with 10 rounds of ammunition, and the

firearm and ammunition were in and affecting commerce.



18 U.S.C. § 922(g)
            Case 1:19-cr-00472-SAG Document 1 Filed 10/08/19 Page 2 of 2



                                          FORFEITURE

         The Grand Jury for the District of Maryland further charges that:

                 Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the defendant

  that the United States will seek forfeiture as part of any sentence in accordance with Title 18,

  United States Code, Section 924(d), and Title 28, United States Code, Section 2461(c), as a result

  of the defendant's conviction under Count One of the Indictment.

                 As a result of the offense alleged in Count One of this Indictment, the defendant,

                                          DEVIN FIELDS

  shall forfeit to the United States the firearm involved in the commission of the offense a Ruger

  SR40C .40 S&W pistol semi-automatic, serial #343557411oaded with 10 rounds of ammunition.

  18 U.S.C. § 924(d)
  28 U.S.C. § 2461(c)


                                                Rabf2A4          t /4A,
                                               Robert K. Hur
                                               United States Attorney

  A TRUE BILL:


SIGNATURE REDACTED                                        ID[silq
  Foreperson                                   Date




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